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.•
           UNITED STATES DISTRICT COURT
           SOUTHERN DISTRICT OF NEW YORK
                                                            X


            UNITED STATES OF AMERICA                                  SEALED INDICTMENT

                             - v. -                                   22 Cr.

            CARLOS VALVERDE, and
            NELSON SILVERIO,


                             Defendants.
                                                                       2 2 CRIM 015
                                                            X


                                               COUNT ONE
                            (Felon in Possession of Firearm or Ammunition)

                    The Grand Jury charges :

                    1.      On or about April 29 , 2021 in the Southern District of

           New York and elsewhere , CARLOS VALVERDE and NELSON SILVERIO , the

           defendants , knowing they had previously been convicted in a court

           of a crime punishable by imprisonment for a term exceeding one

           year ,        knowingly      did    possess      ammunition ,            to   wit ,   handgun

           ammunition , and the ammunition was in and affecting commerce .

                          (Title 18 ,   United States Code ,           Sections 922 (g) (1),
                                              9 2 4 (a) ( 2) , and 2 . )




                                                                }...;,., tJ;,u,,;,..,
           FOREPERSON                                            DAMIAN WILLIAMS
                                                                 United States Attorney
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                Form No . USA- 33s - 274       (Ed . 9- 25 - 58)




                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK


                      UNITED STATES OF AMERICA

                                     v .

                        CARLOS VALVERDE, and
                          NELSON SILVERIO,

                                                     Defendants.


                                INDICTMENT

                                   22 Cr .

              (18 U.S.C.   §§   922(g) (1) ,    924(a) (2) , and
                                     2.)

                          DAMIAN WILLIAMS
                       United States Attorney



                                Foreperson
